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 7
 8                  UNITED STATES DISTRICT COURT FOR THE
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10
11
     CARYN HARLOS, individually and on Case No.: '24CV1621 LL MMP
12   behalf of all others similarly situated,
13                                            CLASS ACTION COMPLAINT
                   Plaintiff,
14
     v.                                       DEMAND FOR JURY TRIAL
15
16   LEXVID SERVICES, INC.,
17                Defendant.
18
19         CARYN HARLOS, individually and on behalf of all others similarly
20   situated, makes the following allegations pursuant to the investigation of counsel
21   and based upon information and belief, except as to allegations pertaining
22   specifically to herself or her counsel, which are based on personal knowledge.
23                                NATURE OF THE CASE
24
           1.      Plaintiff brings this action for legal and equitable remedies to redress
25
     and put a stop to Defendant LEXVID SERVICES, INC.,’s practices of knowingly
26
     disclosing Plaintiff’s and its other customers’ identities, their subscriptions, and the
27
     titles of the prerecorded video materials that they purchased to Meta Platforms, Inc.
28
                                                1
                                  CLASS ACTION COMPLAINT
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 1   (“Meta”), formerly known as Facebook, Inc. (“Facebook”), in violation of the

 2   federal Video Privacy Protection Act (“VPPA”), 18 U.S.C. § 2710.
 3         2.     Over the past two years, Defendant has systematically transmitted—
 4   and continues to transmit today—its customers’ subscription and personally
 5   identifying video viewing information to Meta using a snippet of programming code
 6   called the “Meta Pixel,” which Defendant chose to install on its lexvid.com website.
 7         3.     The information Defendant disclosed, and continues to disclose, to
 8   Meta, via the Meta Pixel it installed on its website, includes a consumer’s Facebook
 9   ID (“FID”) coupled with their subscription information and the title of each of the
10
     specific videos that the consumer requested or obtained on Defendant’s website. An
11
     FID is a unique sequence of numbers linked to the Meta profile belonging to that
12
     subscriber. The Meta profile, in turn, publicly identifies the customer by name and
13
     contains    other     personally   identifying   information   as   well.    Entering
14
     “facebook.com/[FID]” into a web browser returns the Meta profile of the person to
15
     whom the FID corresponds. Thus, the FID identifies a person more precisely than a
16
17   name, as numerous persons may share the same name but each person’s Facebook

18   profile (and associated FID) uniquely identifies one and only one person. In the

19   simplest terms, the Meta Pixel installed by Defendant captures and discloses to Meta
20   information that reveals the subscription and specific videos that a particular person
21   viewed on Defendant’s website (hereinafter, “Private Viewing Information”).
22         4.     Defendant disclosed and continues to disclose that a consumer
23   purchased a subscription to Defendant’s website and its customers’ Private Viewing
24   Information to Meta without asking for, let alone obtaining, its customers’ consent
25   to these practices.
26         5.     The VPPA clearly prohibits what Defendant has done. Subsection
27   (b)(1) of the VPPA provides that, absent the consumer’s prior informed, written
28
                                                2
                                  CLASS ACTION COMPLAINT
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 1   consent, any “video tape service provider who knowingly discloses, to any person,

 2   personally identifiable information concerning any consumer of such provider shall
 3   be liable to the aggrieved person” for, inter alia, liquidated damages in the amount
 4   of $2,500.00 per violation and equitable relief. 18 U.S.C. § 2710(b)(1) and (c).
 5           6.        Accordingly, on behalf of herself and the putative Class members
 6   defined below, Plaintiff brings this Class Action Complaint against Defendant for
 7   intentionally and unlawfully disclosing their subscription and Personal Viewing
 8   Information to Meta.
 9                                           PARTIES
10
        I.         Plaintiff Harlos
11
             7.       Plaintiff Harlos is a citizen and resident of Douglas County, Colorado.
12
             8.       Plaintiff Harlos was at all relevant times a user of Meta.
13
             9.       Plaintiff Harlos is a consumer of the video products and services
14
     offered on Defendant’s lexvid.com website. She purchased a year-long subscription
15
     to Defendant’s website in January 2023 and used that subscription to watch videos
16
17   through at least August 2023. Plaintiff Harlos became a subscriber to Defendant’s

18   website by registering and paying for a subscription by providing her name, email

19   address, payment information, and zip code.
20           10.       On multiple occasions during the two years preceding the filing of
21   this action, Plaintiff Harlos used her subscription on Defendant’s website to request
22   and obtain pre-recorded videos from Defendant. On each such occasion, Defendant
23   disclosed to Meta Plaintiff Harlos’s FID coupled with the fact she purchased a
24   subscription, the specific title of the video she requested and obtained, and the URL
25   where she requested access to and obtained the video. Defendant also disclosed to
26   Meta information concerning the device Plaintiff Harlos used to request and obtain
27   the video.
28
                                                  3
                                      CLASS ACTION COMPLAINT
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 1            11.      At all relevant times, including when purchasing a subscription to

 2   Defendant’s website and accessing and obtaining the prerecorded video material
 3   provided to subscribers on Defendant’s website, Plaintiff Harlos had a Meta
 4   account, a Meta profile, and an FID associated with such profile.
 5            12.      Plaintiff Harlos has never consented, agreed, authorized, or otherwise
 6   permitted Defendant to disclose subscription or Personal Viewing Information to
 7   Meta. In fact, Defendant has never even provided Plaintiff Harlos with written
 8   notice of its practices of disclosing its customers’ subscription and Personal
 9   Viewing Information to third parties such as Meta.
10
              13.      Because Defendant disclosed Plaintiff Harlos’s Private Viewing
11
     Information (including her FID, her purchase of a subscription, the title of the
12
     prerecorded video materials she accessed and obtained from Defendant’s website
13
     with her paid subscription, and the URL where such video is available to
14
     subscribers on Defendant’s website) to Meta during the applicable statutory period,
15
     Defendant violated Plaintiff Harlos’s rights under the VPPA and invaded her
16
17   statutorily conferred interest in keeping such information, which bears on her

18   personal affairs and concerns, private.

19      II.         Defendant LexVid Services, Inc.
20            14.     Defendant operates an online digital library of pre-recorded video
21   materials, where it is engaged in the business of selling, inter alia, a wide variety
22   of prerecorded video materials to consumers across the United States.
23                               JURISDICTION AND VENUE
24            15.      The Court has subject-matter jurisdiction over this civil action
25   pursuant to 28 U.S.C. § 1331 and 18 U.S.C. § 2710.
26            16.      Personal jurisdiction and venue are proper because Defendant
27   maintains its principal place of business in San Diego, California, within this
28
                                                  4
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 1   judicial District.

 2                        VIDEO PRIVACY PROTECTION ACT
 3          17.     The VPPA prohibits companies like Defendant from knowingly
 4   disclosing to third parties like Facebook information that personally identifies
 5   consumers like Plaintiff as having viewed particular videos or other audio-visual
 6   products or services.
 7          18.     Specifically, the VPPA prohibits “a video tape service provider” from
 8   “knowingly disclos[ing], to any person, personally identifiable information
 9   concerning any consumer of such provider[.]” 18 U.S.C. § 2710(b)(1). The statute
10
     defines a “video tape service provider” as “any person, engaged in the business…of
11
     rental, sale, or delivery of prerecorded video cassette tapes or similar audio visual
12
     materials,” 18 U.S.C. § 2710(a)(4),       and defines a “consumer” as “a renter,
13
     purchaser, or subscriber of goods or services from a video tape service provider.”
14
     18 U.S.C. § 2710(a)(1). “‘[P]ersonally identifiable information’ includes
15
     information which identifies a person as having requested or obtained specific
16
17   video materials or services from a video tape service provider.” 18 U.S.C. §

18   2710(a)(3).

19          19.     The VPPA’s purpose is as apropos today as it was at the time of its
20   enactment over 35 years ago. Leading up to the statute’s enactment in 1988,
21   members of the United States Senate warned that “[e]very day Americans are
22   forced to provide to businesses and others personal information without having any
23   control over where that information goes.” Id. Senators at the time were particularly
24   troubled by disclosures of records that reveal consumers’ purchases and rentals of
25   videos and other audiovisual materials, because such records offer “a window into
26   our loves, likes, and dislikes,” such that “the trail of information generated by every
27   transaction that is now recorded and stored in sophisticated record-keeping systems
28
                                                5
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 1   is a new, more subtle and pervasive form of surveillance.” S. Rep. No. 100-599 at

 2   7-8 (1988) (statements of Sens. Simon and Leahy, respectively).
 3           20.      Thus, in proposing the Video and Library Privacy Protection Act
 4   (which later became the VPPA), Senator Patrick J. Leahy (the senior Senator from
 5   Vermont from 1975 to 2023) sought to codify, as a matter of law, that “our right to
 6   privacy protects the choice of movies that we watch with our family in our own
 7   homes.” 134 Cong. Rec. S5399 (May 10, 1988). As Senator Leahy explained at
 8   the time, it is the personal nature of such information, and the need to protect it
 9   from disclosure, that is the raison d’être of the statute: “These activities are at the
10
     core of any definition of personhood. They reveal our likes and dislikes, our
11
     interests and our whims. They say a great deal about our dreams and ambitions,
12
     our fears and our hopes. They reflect our individuality, and they describe us as
13
     people.” Id.
14
             21.      While these statements rang true in 1988 when the act was passed,
15
     the importance of legislation like the VPPA in the modern era of data mining is
16
17   more pronounced than ever before. During a recent Senate Judiciary Committee

18   meeting, “The Video Privacy Protection Act: Protecting Viewer Privacy in the 21st

19   Century,” Senator Leahy emphasized the point by stating: “While it is true that
20   technology has changed over the years, we must stay faithful to our fundamental
21   right to privacy and freedom. Today, social networking, video streaming, the
22   ‘cloud,’ mobile apps and other new technologies have revolutionized the
23   availability of Americans’ information.”1
24           22.      Former Senator Al Franken may have said it best: “If someone wants
25
26   1
              The Video Privacy Protection Act: Protecting Viewer Privacy in the 21st Century, Senate Judiciary
     Committee Subcommittee on Privacy, Technology and the Law, http://www.judiciary.
27   senate.gov/meetings/the-video-privacy-protection-act-protecting-viewer-privacy-in-the-21stcentury.

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 1   to share what they watch, I want them to be able to do so . . . But I want to make

 2   sure that consumers have the right to easily control who finds out what they
 3   watch—and who doesn’t. The Video Privacy Protection Act guarantees them that
 4   right.”2
 5             23.      In this case, however, Defendant deprived Plaintiff and the unnamed
 6   Class members of that right by systematically (and surreptitiously) disclosing their
 7   Personal Viewing Information to Facebook, without providing notice to (let alone
 8   obtaining consent from) any of them, as explained in detail below.
 9                                        BACKGROUND FACTS
10
          I.         Consumers’ Personal Information Has Real Market Value
11
               24.      In 2001, Federal Trade Commission (“FTC”) Commissioner Orson
12
     Swindle remarked that “the digital revolution . . . has given an enormous capacity
13
     to the acts of collecting and transmitting and flowing of information, unlike
14
     anything we’ve ever seen in our lifetimes . . . [and] individuals are concerned about
15
     being defined by the existing data on themselves.”3
16
17             25.      More than a decade later, Commissioner Swindle’s comments ring

18   truer than ever, as consumer data feeds an information marketplace that supports a

19   $26 billion dollar per year online advertising industry in the United States.4
20             26.      The FTC has also recognized that consumer data possesses inherent
21   monetary value within the new information marketplace and publicly stated that:
22
     2
23            Chairman Franken Holds Hearing on Updated Video Privacy Law for 21st Century,
     frank.senate.gov (Jan. 31, 2012).
24   3
              FCC,     The     Information      Marketplace    (Mar.     13,    2001),   at   8-11,    available   at
25   https://www.ftc.gov/sites/default/files/documents/public_events/information-marketplace-merging-and-exchanging-
     consumer-data/transcript.pdf.
26
     4
               See Web’s Hot New Commodity: Privacy, Wall Street Journal                        (Feb.   28,   2011),
27   http://online.wsj.com/article/SB10001424052748703529004576160764037920274.html.

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 1           Most consumers cannot begin to comprehend the types and amount of
             information collected by businesses, or why their information may be
 2           commercially valuable. Data is currency. The larger the data set, the
 3           greater potential for analysis—and profit.5
 4           27.        In fact, an entire industry exists while companies known as data
 5   aggregators purchase, trade, and collect massive databases of information about
 6   consumers. Data aggregators then profit by selling this “extraordinarily intrusive”
 7
     information in an open and largely unregulated market.6
 8
             28.        The scope of data aggregators’ knowledge about consumers is
 9
     immense: “If you are an American adult, the odds are that [they] know[] things like
10
     your age, race, sex, weight, height, marital status, education level, politics, buying
11
     habits, household health worries, vacation dreams—and on and on.”7
12
             29.        Further, “[a]s use of the Internet has grown, the data broker industry
13
     has already evolved to take advantage of the increasingly specific pieces of
14
15   information about consumers that are now available.”8

16           30.        Recognizing the serious threat the data mining industry poses to
17   consumers’ privacy, on July 25, 2012, the co-Chairmen of the Congressional Bi-
18   Partisan Privacy Caucus sent a letter to nine major data brokerage companies
19
20   5
              Statement     of     FTC       Cmr.    Harbour      (Dec.    7,    2009),     at     2,   available   at
     https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-exploring-privacy-
21   roundtable/091207privacyroundtable.pdf.
22   6
              See M. White, Big Data Knows What You’re Doing Right Now, TIME.com (July 31, 2012),
23   http://moneyland.time.com/2012/07/31/big-data-knows-what-youre-doing-right-now/.

24   7
              N. Singer, You for Sale: Mapping, and Sharing, the Consumer Genome, N.Y. Times (June 16, 2012),
     available at http://www.nytimes.com/2012/06/17/technology/acxiom-the-quiet-giant-of- consumer-database-
25   marketing.html.

26   8
              Letter from Sen. J. Rockefeller IV, Sen. Cmtee. on Commerce, Science, and Transportation, to S. Howe,
     Chief        Executive        Officer,       Acxiom         (Oct.     9,       2012)        available       at
27   http://www.commerce.senate.gov/public/?a=Files.Serve&File_id=3bb94703-5ac8-4157-a97b-a658c3c3061c.

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                                                             8
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 1   seeking information on how those companies collect, store, and sell their massive

 2   collections of consumer data, stating in pertinent part:
 3           By combining data from numerous offline and online sources, data
             brokers have developed hidden dossiers on every U.S. consumer. This
 4           large[-]scale aggregation of the personal information of hundreds of
 5           millions of American citizens raises a number of serious privacy
 6           concerns.9

 7           31.       Data aggregation is especially troublesome when consumer
 8   information is sold to direct-mail advertisers. In addition to causing waste and
 9   inconvenience, direct-mail advertisers often use consumer information to lure
10   unsuspecting consumers into various scams, including fraudulent sweepstakes,
11   charities, and buying clubs. Thus, when companies like LexVid share information
12   with data aggregators, data cooperatives, and direct-mail advertisers, they
13
     contribute to the “[v]ast databases” of consumer data that are often “sold to thieves
14
     by large publicly traded companies,” which “put[s] almost anyone within the reach
15
     of fraudulent telemarketers” and other criminals.10
16
             32.       Disclosures like Defendant’s are particularly dangerous to the
17
     elderly. “Older Americans are perfect telemarketing customers, analysts say,
18
     because they are often at home, rely on delivery services, and are lonely for the
19
     companionship that telephone callers provide.”11 The FTC notes that “[t]he elderly
20
21   often are the deliberate targets of fraudulent telemarketers who take advantage of

22   the fact that many older people have cash reserves or other assets to spend on
23   9
             See Bipartisan Group of Lawmakers Query Data Brokers About Practices Involving Consumers’ Personal
24   Information, Website of Sen. Markey (July 24, 2012), http://www.markey.senate.gov/news/press-releases/bipartisan-
     group-of-lawmakers-query-data-brokers-about-practices-involving-consumers-personal-information.
25
     10
        See Charles Duhigg, Bilking the Elderly, with a Corporate Assist, N.Y. Times (May 20, 2007), available at
26   https://www.nytimes.com/2007/05/20/business/20tele.html.

27   11
             Id.

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                                                            9
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 1   seemingly attractive offers.”12

 2              33.      Indeed, an entire black market exists where the personal information
 3   of vulnerable elderly Americans is exchanged. Thus, information disclosures like
 4   Defendant’s are particularly troublesome because of their cascading nature: “Once
 5   marked as receptive to [a specific] type of spam, a consumer is often bombarded
 6   with similar fraudulent offers from a host of scam artists.”13
 7              34.      Defendant is not alone in violating its customers’ statutory rights and
 8   jeopardizing their well-being in exchange for increased revenue: disclosing
 9   customer and subscriber information to data aggregators, data appenders, data
10
     cooperatives, direct marketers, and other third parties has become a widespread
11
     practice. Unfortunately for consumers, however, this growth has come at the
12
     expense of their most basic privacy rights.
13
          II.         Consumers Place Monetary Value on their Privacy and Consider
14                    Privacy Practices When Making Purchases
15
                35.      As the data aggregation industry has grown, so too have consumer
16
     concerns regarding their personal information.
17
                36.      A recent survey conducted by Harris Interactive on behalf of
18
     TRUSTe, Inc. showed that 89 percent of consumers polled avoid doing business
19
     with companies whom they believe do not protect their privacy online.14 As a
20
21   result, 81 percent of smartphone users polled said that they avoid using smartphone

22
23   12
             Fraud Against Seniors: Hearing before the Senate Special Committee on Aging (August 10, 2000) (prepared
24   statement of the FTC), available at https://www.ftc.gov/sites/default/files/documents/public_statements/prepared-
     statement-federal-trade-commission-fraud-against-seniors/agingtestimony.pdf.
25
     13
                Id.
26
     14
              See 2014 TRUSTe US Consumer Confidence Privacy Report, TRUSTe, http://www.theagitator.net/wp-
27   content/uploads/012714_ConsumerConfidenceReport_US1.pdf.

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 1   apps that they don’t believe protect their privacy online.15

 2           37.        Thus, as consumer privacy concerns grow, consumers are
 3   increasingly incorporating privacy concerns and values into their purchasing
 4   decisions and companies viewed as having weaker privacy protections are forced
 5   to offer greater value elsewhere (through better quality and/or lower prices) than
 6   their privacy-protective competitors.
 7           38.        In fact, consumers’ personal information has become such a valuable
 8   commodity that companies are beginning to offer individuals the opportunity to sell
 9   their personal information themselves.16
10
             39.        These companies’ business models capitalize on a fundamental tenet
11
     underlying the personal information marketplace: consumers recognize the
12
     economic value of their private data. Research shows that consumers are willing
13
     to pay a premium to purchase services from companies that adhere to more stringent
14
     policies of protecting their personal data.17
15
             40.        Thus, in today’s digital economy, individuals and businesses alike
16
17   place a real, quantifiable value on consumer data and corresponding privacy

18   rights.18 As such, where a business offers customers a service that includes

19
20   15
             Id.
21   16
              See Joshua Brustein, Start-Ups Seek to Help Users Put a Price on Their Personal Data, N.Y. Times (Feb.
22   12, 2012), available at http://www.nytimes.com/2012/02/13/technology/start-ups-aim-to-help-users-put-a-price-on-
     their-personal-data.html.
23   17
               See Tsai, Cranor, Acquisti, and Egelman, The Effect of Online Privacy Information on Purchasing Behavior,
24   22(2) Information Systems Research 254, 254 (2011); see also European Network and Information Security Agency,
     Study on monetising privacy (Feb. 27, 2012), available at https://www.enisa.europa.eu/activities/identity-and-
25   trust/library/deliverables/monetising-privacy.

26   18
              See Hann, et al., The Value of Online Information Privacy: An Empirical Investigation (Oct. 2003) at 2,
     available at http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.321.6125&rep=rep1&type=pdf (“It is obvious
27   that people value online privacy.”).

28
                                                             11
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 1   statutorily guaranteed privacy protections, yet fails to honor these guarantees, the

 2   customer receives a service of less value than the service paid for.
 3        III.     Defendant Uses the Meta Pixel to Systematically Disclose its
                   Subscribers’ Personal Viewing Information to Meta
 4
 5           41.      As alleged below, when a consumer purchases a subscription to
 6   Defendant’s website, that purchase of the subscription is communicated to Meta by
 7   way of the Meta Pixel. Also, when a subscriber to Defendant’s website requests or
 8   obtains a specific video, the Meta Pixel technology that Defendant intentionally
 9   installed on its website transmits the subscriber’s personally identifying
10   information and detailed information concerning the specific interactions the
11   subscriber takes on its website (including the subscriber’s Private Viewing
12   Information revealing the specific videos that he or she requested) to Meta, without
13
     the subscriber’s consent, in clear violation of the VPPA.
14
             A. The Meta Pixel
15
             42.      On February 4, 2004, Mark Zuckerberg and others launched
16
     Facebook, now known as “Meta”.19 Since then, Meta has become the world's largest
17
     social media platform. To create a Meta account, a person must provide, inter alia,
18
     his or her first and last name, birthdate, gender, and phone number or email.
19
             43.      The Meta Pixel, first introduced in 2013 as the “Facebook Pixel,” is
20
21   a unique string of code that companies can embed on their websites to allow them

22   to track consumers’ actions and report the actions back to Meta.
23           44.       The Meta Pixel allows online-based companies like Defendant to
24   build detailed profiles about their visitors by collecting information about how they
25   interact with their websites, and to then use the collected information to service
26   highly targeted advertising to them.
27
     19
             Company Info, FACEBOOK, https://about.fb.com/company-info./.
28
                                                         12
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 1           45.       Additionally, a Meta Pixel installed on a company’s website allows

 2   Meta “to match . . . website visitors to their respective [Meta] User accounts.”20
 3   Meta is able to do this because it has assigned to each of its users an “FID” number:
 4   a unique and persistent identifier that allows anyone to look up the user’s unique
 5   Meta profile and thus identify the user by name.21 Then, each transmission of
 6   information made from a company’s website to Meta via the Meta Pixel is
 7   accompanied by the FID of the website’s visitor. Moreover, the Meta Pixel can
 8   follow a consumer to different websites and across the Internet even after clearing
 9   browser history.
10
             46.       Meta has used the Meta Pixel to amass a vast digital database of
11
     dossiers comprised of highly detailed personally identifying information about each
12
     of its billions of users worldwide, including information about all of its users’
13
     interactions with any of the millions of websites across the Internet on which the
14
     Meta Pixel is installed. Meta then monetizes this Orwellian database by selling
15
     advertisers the ability to serve highly targeted advertisements to the persons whose
16
17   personal information is contained within it.

18           47.       Simply put: if a company chooses to install the Meta Pixel on its

19   website, both the company who installed it and Meta (the recipient of the
20   information it transmits) are then able to “track[] the people and type of actions
21   they take”22 on the company’s website, including the purchases they made, the
22   items they spent time viewing, and, as relevant here, the specific video content that
23
24
     20
             https://developers.facebook.com/docs/meta-pixel/get-started.
25
     21
              For example, Mark Zuckerberg’s FID is reportedly the number “4,” so logging into Facebook and typing
26   www.facebook.com/4 in the web browser retrieves Mark Zuckerberg’s Facebook page: www.facebook.com/zuck,
     and all of the additional personally identifiable information contained therein.
27
     22
             https://www.facebook.com/business/goals/retargeting.
28
                                                            13
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 1   they requested or obtained on the website.

 2         B. Defendant Knowingly Uses the Meta Pixel to Transmit the Private
              Viewing Information of its Customers to Meta
 3
 4         48.     Defendant allows persons to become digital consumers of its various

 5   online-based video products and services by purchasing a subscription to its
 6   website. To subscribe and obtain video content, the consumer must provide at least
 7   his or her name, email address, billing address, and credit- or debit-card (or other
 8   form of payment) information.
 9         49.     After a person has completed the subscription process and gains
10   access to videos on Defendant’s website, Defendant uses—and has used at all times
11   relevant hereto—the Meta Pixel to disclose to Meta the unencrypted FID of the
12   subscriber and the specific videos that he or she requested or obtained from
13
     Defendant’s website.
14
           50.     Defendant intentionally programmed its website (by following step-
15
     by-step instructions from Meta’s website) to include a Meta Pixel that
16
     systematically transmits to Meta the FIDs of its subscribers, the fact that a
17
     subscription to Defendant’s video service was made, and the specific titles of video
18
     products that each of them requested in order to take advantage of the targeted
19
     advertising and other informational and analytical services offered by Meta.
20
21         51.     With only a person’s FID and the video content name or URL that

22   the person requested on Defendant’s website—all of which Defendant knowingly
23   provides to Meta—any ordinary person could learn the identity of the person to
24   whom the FID corresponds and the specific video products or services that this
25   person requested.    This can be accomplished simply by accessing the URL
26   www.facebook.com/[unencrypted FID].
27         52.     Defendant’s practices of disclosing consumers’ purchases of
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 1   subscriptions to Defendant’s website and the Private Viewing Information of its

 2   subscribers to Meta continued unabated for the full duration of the time period
 3   relevant to this action. At all relevant times, whenever Plaintiff or another consumer
 4   purchased a subscription to Defendant’s website or whenever a subscriber
 5   requested a particular video (by clicking on it) on Defendant’s website, Defendant
 6   disclosed to Meta the specific video that was requested (including the URL where
 7   such video was accessed), along with the FID of the subscriber who requested it,
 8   which, as discussed above, uniquely identifies the person.
 9         53.     At all relevant times, Defendant knew that the Meta Pixel disclosed
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     its consumers’ subscription purchases and Private Viewing Information to Meta.
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           54.     Defendant could easily have programmed its website so that none of
12
     its consumer’s subscription purchases or subscribers’ detailed Private Viewing
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     Information is disclosed to Meta. Instead, Defendant chose to program its website
14
     so that all of its subscribers’ detailed Private Viewing Information is sent to Meta
15
     en masse.
16
17         55.     Prior to transmitting its subscribers’ Private Viewing Information to

18   Meta, Defendant failed to notify Plaintiffs or any of its other customers that it would

19   do so, and neither Plaintiffs nor any of its other customers have consented (in
20   writing or otherwise) to these practices.
21         56.     By intentionally disclosing to Meta Plaintiffs’ and its other
22   subscribers’ FIDs together with the subscription information and specific video
23   content they each requested or obtained, without Plaintiffs’ or any of its other
24   subscribers’ consent to these practices, Defendant knowingly and systematically
25   violated the VPPA on an enormous scale.
26                          CLASS ACTION ALLEGATIONS
27         57.     Plaintiff seeks to represent a class defined as all persons in the United
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 1   States who, during the two years preceding the filing of this action, requested or

 2   obtained a subscription to Defendant’s website or video content from Defendant’s
 3   website while maintaining an account with Meta Platforms, Inc. f/k/a Facebook,
 4   Inc.
 5          58.    Class members are so numerous that their individual joinder herein is
 6   impracticable. On information and belief, members of the Class number in at least
 7   the tens of thousands. The precise number of Class members and their identities
 8   are unknown to Plaintiff at this time but may be determined through discovery.
 9   Class members may be notified of the pendency of this action by mail and/or
10
     publication through the membership records of Defendant.
11
            59.    Common questions of law and fact exist for all Class members and
12
     predominate over questions affecting only individual class members. Common
13
     legal and factual questions include, but are not limited to: (a) whether Defendant
14
     knowingly disclosed Plaintiff’s and Class members’ subscription purchases and
15
     Private Viewing Information to Meta; (b) whether Defendant’s conduct violates
16
17   the Video Privacy Protection Act, 18 U.S.C. § 2710; (c) whether Defendant should

18   be enjoined from disclosing Plaintiff’s and Class members’ Private Viewing

19   Information to Meta; and (d) whether Plaintiff and Class members are entitled to
20   statutory damages for the aforementioned violations.
21          60.    The named Plaintiff’s claims are typical of the claims of the Class in
22   that the named Plaintiff and the Class members suffered invasions of their
23   statutorily protected right to privacy (as afforded by the VPPA), as well as
24   intrusions upon their private affairs and concerns that would be highly offensive to
25   a reasonable person, as a result of Defendant’s uniform and wrongful conduct in
26   intentionally disclosing their Private Purchase Information to Meta.
27          61.    Plaintiff is an adequate representative of the Class because her
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 1   interests do not conflict with the interests of the Class members she seeks to

 2   represent, she has retained competent counsel experienced in prosecuting class
 3   actions, and she intends to prosecute this action vigorously. Plaintiff and her
 4   counsel will fairly and adequately protect the interests of Class members.
 5          62.     The class mechanism is superior to other available means for the fair
 6   and efficient adjudication of Class members’ claims.         Each individual Class
 7   Member may lack the resources to undergo the burden and expense of individual
 8   prosecution of the complex and extensive litigation necessary to establish
 9   Defendant’s liability. Individualized litigation increases the delay and expense to
10
     all parties and multiplies the burden on the judicial system presented by this case’s
11
     complex legal and factual issues. Individualized litigation also presents a potential
12
     for inconsistent or contradictory judgments. In contrast, the class action device
13
     presents far fewer management difficulties and provides the benefits of single
14
     adjudication, economy of scale, and comprehensive supervision by a single court
15
     on the issue of Defendant’s liability. Class treatment of the liability issues will
16
17   ensure that all claims and claimants are before this Court for consistent adjudication

18   of the liability issues.

19                                    CAUSE OF ACTION
20          (Violation of the Video Privacy Protection Act, 18 U.S.C. § 2710)
21          63.     Plaintiff repeats the allegations asserted in the preceding paragraphs
22   as if fully set forth herein.
23          64.     Plaintiff brings her claim individually and on behalf of the putative
24   Class Members against Defendant.
25          65.     The VPPA prohibits a “video tape service provider” from knowingly
26   disclosing “personally identifying information” concerning any “consumer” to a
27   third party without the “informed, written consent (including through an electronic
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 1   means using the Internet) of the consumer.” 18 U.S.C. § 2710.

 2         66.     As defined in 18 U.S.C. § 2710(a)(4), a “video tape service provider”
 3   is “any person, engaged in the business, in or affecting interstate or foreign
 4   commerce, of rental, sale, or delivery of prerecorded video cassette tapes or similar
 5   audiovisual materials[.]” Defendant is a “video tape service provider” as defined in
 6   18 U.S.C. § 2710(a)(4) because it is engaged in the business of delivering
 7   audiovisual materials that are similar to prerecorded video cassette tapes and those
 8   sales affect interstate or foreign commerce.
 9         67.     As defined in 18 U.S.C. § 2710(a)(1), a “‘consumer’ means any
10
     renter, purchaser, or consumer of goods or services from a video tape service
11
     provider.” As alleged above, Plaintiff and Class members, having subscribed to or
12
     obtained video content from Defendant’s website, are consumers of Defendant’s
13
     service of providing video content. Thus, Plaintiff and Class members are
14
     “consumers” as defined in 18 U.S.C. § 2710(a)(1).
15
           68.     As defined in 18 U.S.C. § 2710(a)(3), “‘personally identifiable
16
17   information’ includes information which identifies a person as having requested or

18   obtained specific video materials or services from a video tape service provider.”

19   Defendant knowingly disclosed Plaintiff’s and Class members’ subscription and
20   Private Viewing Information to Meta in the manner alleged herein. The
21   subscription and Private Viewing Information that Defendant transmitted to Meta
22   constitutes “personally identifiable information” as defined in 18 U.S.C. §
23   2710(a)(3) because the transmitted information identified Plaintiff and each Class
24   member to Meta as an individual who purchased a subscription or requested or
25   obtained video content, including the specific video materials requested or obtained
26   from Defendant’s website.
27         69.     Defendant never obtained informed, written consent from Plaintiff or
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 1   any Class member to disclose their Private Viewing Information to Meta or any

 2   other third party. More specifically, Defendant never obtained from Plaintiff or any
 3   Class member informed, written consent in a form distinct and separate from any
 4   form setting forth other legal or financial obligations of the consumer; Defendant
 5   never obtained from Plaintiff or any Class member informed, written consent that,
 6   at the election of the consumer, was given at the time the disclosure is sought or
 7   was given in advance for a set period of time, not to exceed two years or until
 8   consent is withdrawn by the consumer, whichever is sooner; and Defendant never
 9   provided an opportunity, in a clear and conspicuous manner, for Plaintiff or any
10
     Class member to withdraw consent on a case-by-case basis or to withdraw consent
11
     from ongoing disclosures, at the consumer’s election. See 18 U.S.C. § 2710(b)(2).
12
           70.     Defendant knowingly disclosed such information to Meta because
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     Defendant intentionally installed and programmed the Meta Pixel code on its
14
     website, knowing that such code would transmit to Meta the subscription purchases
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     and video titles requested by its subscribers and its subscribers’ unique identifiers
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17   (including FIDs) when subscribers’ requested or obtained videos from its website.

18         71.     By disclosing Plaintiff’s and Class members’ subscription purchases

19   and Private Viewing Information, Defendant violated their statutorily protected
20   right to privacy in the videos they requested or obtained from Defendant. 18 U.S.C.
21   § 2710(c).
22         72.     As a result of these violations, Defendant is liable to Plaintiff and
23   Class members for damages and other relief as provided by the VPPA.
24         73.     On behalf of herself and all members of the Class, Plaintiff seeks to
25   enjoin Defendant’s future disclosures of subscription purchases and its subscribers’
26   Private Viewing Information; liquidated damages in the amount of $2,500 per
27   violation of the VPPA; reasonable attorneys’ fees and costs; and all other
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 1   preliminary or equitable relief the Court deems appropriate. 18 U.S.C. §

 2   2710(c)(2)(A).
 3                              PRAYER FOR RELIEF
 4         WHEREFORE, Plaintiffs, individually and on behalf of all others similarly
 5   situated, seek a judgment against Defendant LexVid Services, Inc., as follows:
 6                A.    For an order certifying the Class under Rule 23 of the
 7                      Federal Rules of Civil Procedure and naming Plaintiff as
                        representatives of the Class and Plaintiff’s attorneys as
 8                      Class Counsel to represent the Class;
 9
                  B.    For an order declaring that Defendant’s conduct as
10
                        described herein violated the VPPA;
11
12                C.    For an order finding in favor of Plaintiff and the Class and
                        against Defendant on all counts asserted herein;
13
14                D.    For an award of $2,500.00 to the Plaintiff and each Class
                        member, as provided by the VPPA, 18 U.S.C. § 2710(c);
15
16                E.    For an order permanently enjoining Defendant from
17                      disclosing the Private Viewing Information of its
                        subscribers to third parties in violation of the VPPA;
18
19                F.    For prejudgment interest on all amounts awarded; and
20                G.    For an order awarding punitive damages, reasonable
21                      attorneys’ fees, and costs to counsel for Plaintiff and the
                        Class under Rule 23 and 18 U.S.C. § 2710(c).
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 1                         DEMAND FOR TRIAL BY JURY

 2        Plaintiff demands a trial by jury on all causes of action and issues so triable.
 3
 4   Dated: September 11, 2024             Respectfully Submitted,
 5                                         HEDIN LLP
 6
                                           By:     /s/ Frank S. Hedin
 7
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